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                                                                                U.S. DISTRICT COURT
                                                                               DISTRICT OF VEHHnil.T
                                                                                       FILED .... a
                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF VERMONT                        lfHi AUG 19 PH 12: 46
                                                                                      CLERK
ALICE H. ALLEN, et al.,                             )                         r.w     lfrN
                                                    )                            DEPUTY CLERK
       Plaintiffs,                                  )
                                                    )
               v.                                   ) Civil Action No. 5:09-CV-00230-cr
                                                    )
DAIRY FARMERS OF AMERICA, INC., and                 )
DAIRY MARKETING SERVICES, LLC,                      )
                                                    )
----~D~e£~e~n~d=a~nt~s~·--------------------~)

                     ORDER IDENTIFYING SUBCLASS EXCLUSIONS AND
            OPT-INS, DISMISSING THE CLASS ACTION CLAIMS AS TO
          DEFENDANTS, DIRECTING ENTRY OF FINAL JUDGMENT, AND
              APPROVING THE SETTLEMENT ALLOCATION PLAN

       The Dairy Farmer Subclasses, through Subclass Counsel, entered into a December 22,

2015 settlement agreement ("December 2015 Settlement") with Defendants Dairy Farmers of

America, Inc. ("DF A) and Dairy Marketing Services, LLC ("DMS"), to fully and finally resolve

the Subclass members' claims against DFA and DMS. The Court entered an Order preliminarily

approving the Settlement and approving the form and method of notice of the settlement to the

Subclasses on February 8, 2016.       [Doc. 718].       After the approved notice program was

effectuated, the Court held a fairness hearing on May 13, 2016. The Court entered an Order

granting final approval of the Settlement on June 7, 2016. [Doc. 2093].

       This matter is now before the Court on the Subclasses' Unopposed Motion for an Order

Identifying Subclass Exclusions and Opt-ins, Dismissing the Class Action Claims as to

Defendants, Directing Entry of Final Judgment, and Approving the Settlement Allocation Plan.

Having considered the Motion, the Subclasses' memoranda in support of final approval of the

December 2015 Settlement, statements presented at the Fairness Hearing, and the complete
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record and files in this matter including the objections and letters m support submitted by

members of the Subclasses,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED as follows:

       1.       The Court has jurisdiction over the subject matter of this litigation.

       2.       Capitalized terms in this Order which are defined in the December 2015

Settlement, unless otherwise defined therein, shall have the same meaning as in the Settlement.

       3.       Due and adequate notice of the December 2015 Settlement was provided,

pursuant to Rule 23 of the Federal Rules of Civil Procedure, to members of the Dairy Farmer

Subclasses, notifying Subclass members of, inter alia, the pendency of the above-captioned

actions and the proposed Settlement with DFA and DMS. The notice provided was the best

notice practicable under the circumstances and included individual notice by first class mail to

8,859 members of the Dairy Farmer Subclasses identified by the Administrator of Federal Milk

Marketing Order 1 as well as notice published in four agricultural publications widely circulated

in the Northeast -American Agriculturalist, Country Folks (Eastern edition), Farming: The

Journal of Northeast Agriculture, Progressive Dairymen (Northeast Edition), and Farmshine-

and on the class action Internet website at www.NortheastDairyClass.com. This notice fully

complied in all respects with the requirements of Rule 23 and the Federal Rules of Civil

Procedure and due process.

       4.       The Court has finally approved the December 2015 Settlement and its terms as

fair, reasonable, and adequate, and in the best interest of the Settlement Class, within the

meaning ofRule 23(e) ofthe Federal Rules of Civil Procedure [Doc. 2093], and therefore directs

consummation of the Settlement according to its terms.




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       5.       Any person who timely submitted a request to be excluded from the class certified

for litigation against DFA and DMS in accordance with the procedures outlined in the Court-

approved notice of certification shall be excluded from the Subclasses, shall not receive any

monetary payments that may result from the December 2015 Settlement, shall not be bound by

any Court orders or jury verdicts in this case, and shall retain their individual right to sue

Defendants on their own regarding the issues in this case, or not to pursue these legal claims if

that is their choice. The names of farmers who timely submitted a request for exclusion from the

class are listed in Appendix 1 to this Order.

       6.       Any person who timely submitted a Request for Exclusion from the December

2015 Settlement in accordance with the procedures outlined in the Court-approved notice of

settlement shall be excluded from the Subclasses, shall have no rights with respect to the

Settlement, and shall receive no payments as provided in the Settlement. The names of farmers

who timely submitted a Request for Exclusion are listed in Appendix 2 to this Order.

       7.       Any person who previously requested exclusion from the Subclasses but who

timely submitted a Request for Reinstatement in accordance with the procedures outlined in the

Court-approved notice of settlement shall be reinstated to the Subclasses, as if they had not been

excluded, for purpose of participating in the Settlement. The names of farmers who timely

submitted a Request for Reinstatement are listed in Appendix 3 to this Order.

       8.       Those Subclass Members who failed to object to the December 2015 Settlement in

accordance with the procedures outlined in the Court-approved notice are hereby deemed to have

waived any objections to the Settlement or the Settlement Agreement and are barred from

making such objections in the future.

       9.       The Actions as to DFA and DMS are dismissed with prejudice.




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       10.     Except as provided by the December 2015 Settlement, DFA and DMS shall have

no obligation for attorneys' fees, costs, or expenses, including but not limited to expenses of

administering and distributing the proceeds of this Settlement.

       11.     The Releasing Parties shall be permanently barred and enjoined from instituting,

commencmg, or prosecuting any action asserting any Released Claim against the Released

Parties, in any local, state, federal, or other court or tribunal of any nation, or in any agency or

other authority or arbitral or other forum wherever located.

       12.     The Plan of Allocation set forth in Dairy Farmer Subclasses' Memorandum in

Support of their Motion for Final Approval of the Settlement with Defendants Dairy Farmers of

America, Inc. and Dairy Marketing Services, LLC is approved as fair and reasonable. As set

forth in the Plan of Allocation, Net Settlement Funds will be distributed on a pro rata basis to

approved Claimants.

       13.     The escrow account established by the Parties, and into which DFA and DMS

have deposited $50 million as the Settlement Fund, plus accrued interest thereon, is approved as

a Qualified Settlement Fund pursuant to Internal Revenue Code § 468B and the Treasury ·

Regulations promulgated thereunder.

       14.     The Net Settlement Funds shall be distributed as soon as practicable after all of the

following have occurred: (a) the Court has granted final approval of the proposed settlement; (b)

the Court has ruled on Subclass Counsel's requests for an award of attorneys' fees, for

reimbursement of litigation expenses, and for incentive awards for the Subclass Representatives

and any appeal or any further determination by the Court regarding fees, expenses, or incentive

awards has passed or is affirmed on appeal; (c) the deadline for submitting claims has passed; (d)

the Claims Administrator      has reviewed all claim forms and determined the amounts




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recommended to be paid to claimants; and (e) the time for appeal of the final approval

determination has passed or the approval is affirmed on appeal. Without affecting the finality of

this Judgment and Final Order in any way, this Court hereby retains continuing jurisdiction for

the purposes of, inter alia, implementing and enforcing the DFA/DMS Settlement Agreement

and entering orders regarding the disbursement of the Settlement proceeds to the Dairy Farmer

Subclasses.

       15.     Without affecting the finality of this Order and Final Judgment, this Court retains

jurisdiction over the implementation, enforcement, and performance of the December 2015

Settlement, and shall have exclusive jurisdiction over any suit, action, proceeding or dispute

arising out of or relating to the Settlement or the applicability of the Settlement Agreement.

       16.     Pursuant to Rule 54(b) of the Federal Rules of Ciyil Procedure, the Court finds

that there is no just reason for delay and hereby directs entry of this final judgment of dismissal

as to DF A and DMS with. This Order shall constitute a final order of dismissal.




 IT IS SO ORDERED this        /1/i.   day of lf._,1--f J-      '2016.




                                                DISTRICT COURT, DISTRICT OF VERMONT




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